                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DISTRICT
                                No. 5:24-cv-00547

 REPUBLICAN NATIONAL COMMITTEE; and                )
 NORTH CAROLINA REPUBLICAN PARTY,                  )
                                                   )
                        Plaintiffs,                )
         v.                                        )
                                                   )
 NORTH CAROLINA STATE BOARD OF                     )
 ELECTIONS; KAREN BRINSON BELL, in her )
 official capacity as Executive Director of the    )       NOTICE OF WITHDRAWAL
 North Carolina State Board of Elections; ALAN     )         OF GOVERNMENTAL
 HIRSCH, in his official capacity as Chair of the  )      COUNSEL FOR DEFENDANTS
 North Carolina State Board of Elections; JEFF     )
 CARMON, in his official capacity as Secretary of )
 the North Carolina State Board of Elections;      )            Local Civil Rule 5.2(d)
 STACY EGGERS IV, KEVIN N. LEWIS, and              )
 SIOBHAN O’DUFFY MILLEN, in their official )
 capacities as members of the North Carolina State )
 Board of Elections,                               )
                                                   )
                       Defendants,                 )
                                                   )
 and                                               )
                                                   )
 THE DEMOCRATIC NATIONAL                           )
 COMMITTEE,                                        )
                                                   )
                       Intervenor-Defendant.       )

       NOW COMES the undersigned, Mary Carla Babb, Special Deputy Attorney General, for

the purpose of giving the court notice of withdrawal of governmental counsel pursuant to Rule

5.2(d) of the Local Rules of Civil Practice for the Eastern District of North Carolina to withdraw

Sarah Boyce as attorney for Defendants North Carolina State Board of Elections, Karen Brinson

Bell, Alan Hirsch, Jeff Carmon, Stacy Eggers, IV, Kevin N. Lewis, and Siobhan O’Duffy Millen,

in this case. As of Wednesday, January 1, 2025, Sarah Boyce is no longer with the N. C.

Department of Justice and is no longer associated with this case. This withdrawal will not result




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in any prejudice, as all other governmental attorneys of record, including the undersigned, for

Defendants North Carolina State Board of Elections, its members, and its Executive Director, will

remain the same.


       Electronically submitted, this the 9th day of January, 2025.

                                                    NORTH CAROLINA
                                                    DEPARTMENT OF JUSTICE


                                                    /s/ Mary Carla Babb
                                                    Mary Carla Babb
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                                                    Counsel for State Board Defendants




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